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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

 TOWNSHIP OF HOWELL,                         Case No. 3:23-cv-7182-RK-RLS
 MONMOUTH COUNTY, NEW
 JERSEY, Individually and Behalf of          [PROPOSED] ORDER
 All Others Similarly Situated,              GRANTING REVISED MOTION
                                             FOR ORDER APPOINTING
                           Plaintiff,        KELLIE LERNER, HEIDI
               vs.                           SILTON, AND SHARON
 AXON ENTERPRISE, INC.; and                  ROBERTSON AS INTERIM CO-
                                             LEAD COUNSEL AND
 SAFARILAND, LLC,
                                             MICHAEL D. FITZGERALD AS
                           Defendants.       INTERIM LIAISON COUNSEL,
                                             AND FOR CONSOLIDATION

                                             Motion hearing: _________, 2023 at
                                             ____


         This matter came before the Court on _____________, 2023 regarding

Plaintiffs’ Revised Motion to Appoint Kellie Lerner, Heidi Silton, and Sharon

Robertson as Interim Co-Lead Counsel and Michael D. Fitzgerald as Interim Liaison

Counsel, and for consolidation.

         Based upon all the files, records, and proceedings herein, IT IS HEREBY

ORDERED that:

                                   CONSOLIDATION

         1.   Pursuant to Rule 42(a) of the Federal Rules of Civil Procedure and

Local Rule 42.1, the following cases are consolidated for all (including pretrial and

trial) purposes: Township of Howell, Monmouth County, New Jersey v. Axon

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Enterprise, Inc., No. 23-cv-7182; Mayor and City Council of Baltimore v. Axon

Enterprise, Inc., No. 23-cv-21156; and City of Augusta, Kennebec County, Maine v.

Axon Enterprise, Inc., No. 23-cv-20897 (together, the “Related Cases”).

         2.   This order does not have the effect of making any entity a party to an

action in which it has not been joined and served in accordance with the Federal

Rules of Civil Procedure.

         3.   Any lawyer who has been admitted pro hac vice in any of the Related

Cases need not seek pro hac vice admission in any other of the Related Cases—a

single pro hac vice admission in these consolidated proceedings is sufficient. Any

lawyer who has filed a notice of appearance in any of the Related Cases need not

notice an appearance in any other of the Related Cases—a single notice in these

consolidated proceedings is sufficient. It is incumbent upon the lawyer to ensure his

or her appearance is listed in the consolidated proceedings for ECF purposes.

         4.   Every pleading or filing in this action, and any separate action

subsequently included therein, shall bear the following caption:

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 IN RE AXON VIEVU ANTITRUST                   Case No. 3:23-cv-7182-RK-RLS
 LITIGATION



                   NEWLY FILED OR TRANSFERRED ACTIONS

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         5.   When an action that relates to the same subject matter as this action is

hereafter filed in or transferred to this Court and assigned to the undersigned, it shall

be consolidated with the Related Cases (provided that any case transferred to this

Court solely for pretrial proceedings shall be consolidated only to that extent absent

further order of this Court), and the Clerk of Court shall:

              a. Docket a copy of this Order in the separate file for such action; and

              b. Make an appropriate entry in the docket that a new case has been

                 assigned.

         6.   The terms of this Order shall apply automatically to actions later

instituted in, removed to, or transferred to this court that involve allegations of

antitrust violations concerning the subject matter of the Related Cases.

                             PLAINTIFFS’ LEAD COUNSEL

         7.   Kellie Lerner, Heidi Silton, and Sharon Robertson are hereby appointed

as Interim Co-Lead Counsel.

         8.   Interim Co-Lead Counsel will have sole authority over the following

matters on behalf of Plaintiffs and/or the proposed class:

              a. convening meetings of counsel;

              b. initiation, response, scheduling, briefing, and argument of all

                 motions;

              c. the scope, order, and conduct of all discovery proceedings;


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              d. making such work assignments among themselves and other counsel

                 as they may deem appropriate;

              e. collecting contemporaneously kept time-and-expense reports from

                 all Plaintiffs’ counsel on a periodic basis;

              f. the retention of experts;

              g. designation of which attorneys will appear at hearings and

                 conferences with the Court;

              h. trial and appeals;

              i. the timing and substance of any settlement negotiations and/or

                 settlement with Defendants;

              j. the allocation of fees among the various firms doing work in the

                 case, if any are awarded by the Court; and

              k. other matters concerning the prosecution of the case.

         9.   Interim Co-Lead Counsel will have authority to communicate with

Defendants’ counsel and the Court on behalf of all Plaintiffs and/or the proposed

class. Defendants’ counsel may rely on all agreements made with Interim Co-Lead

Counsel and these agreements will be binding on all Plaintiffs or class counsel. Only

Interim Co-Lead Counsel may initiate or direct the filing of any motions on behalf

of Plaintiffs and/or the proposed class.




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         10.   On a monthly basis, Interim Co-Lead Counsel will collect reports of

contemporaneously prepared attorney and paralegal time and expense records from

each firm working on behalf of Plaintiffs. On a monthly basis, each plaintiff’s firm

that, at Interim Co-Lead Class Counsel’s discretion, may receive a portion of the fee

awarded by the Court will transmit to Interim Co-Lead Counsel a report

summarizing, according to each separate activity: the time and expense spent by its

members, associates, or staff during the preceding month, the ordinary billing rates

of such attorneys in effect during that time, and the accumulated total of the firm’s

time, hourly rates, and expenses to date in a format to be established by Interim Co-

Lead Counsel.

         11.   Michael D. Fitzgerald is hereby appointed as Interim Liaison Counsel.

         12.   Interim Liaison Counsel will

               a. communicate with the Court on behalf of Interim Co-Lead Counsel

                  or other class counsel,

               b. receive and distribute any notices, orders, motions, briefs, or other

                  correspondence that are not filed on ECF on behalf of and among

                  Interim Co-Lead Counsel or other class counsel, and

               c. perform any other function the Court may request.




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                                 CASE MANAGEMENT

         13.   Plaintiffs will file a consolidated complaint for the Related Cases no

later than 14 days following the date of this Order.

         14.   Defendants are not required to answer, move, or otherwise respond to

the initial complaints filed in the captioned matters.

         15.   Co-Lead Counsel and Defendants’ counsel shall meet and confer with

one another and submit to the Court a proposed schedule for Defendants to respond

to the consolidated complaint and any motion to dismiss briefing.



IT IS SO ORDERED.




 Dated: _______________, 2023
                                           Hon. Robert Kirsch
                                           United States District Judge




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